
TJOFLAT, Circuit Judge,
specially concurring:
I concur in the judgment of the court, but I write separately because I do not believe that international comity entirely disposes of Daewoo America’s Amended Complaint. Contrary to the court’s decision, Daewoo America’s entire lawsuit does not “turn[ ] on what happened in the Korean bankruptcy proceeding,” ante at 1260, nor is it “inextricably intertwined with the order of the Korean court,” id. For the vast majority of Daewoo America’s claims, the proceedings before the Korean bankruptcy court serve as little more than a factual backdrop. When properly understood, most of Daewoo America’s claims solely concern the defendants’ dealings with Daewoo America, separate and distinct from the transfer of Daewoo Korea’s manufacturing assets to GM and its partners. Stated differently, this dispute simply is not part of the Korean bankruptcy, and granting international comity to the Korean bankruptcy court’s orders does little to resolve it. The district court therefore could not have dismissed Daewoo America’s entire Amended Complaint on the ground of international comity. In my view, analyzing the claims presented in the Amended Complaint, a task on which the court expends little effort, is the proper way to decide this appeal. Doing so reveals that the premises on which those claims rest are flawed, and that each claim in the Amended Complaint should be dismissed.1
Part I of the following discussion outlines the course of dealing between Dae-woo America and GM. In its discussion of the facts underlying this dispute, the court chooses to focus mostly on the proceedings in the Korean bankruptcy court. While I have no quarrel with the accuracy of this account, I believe that providing more detail on the defendants’ (and particularly GM’s) alleged conduct vis-á-vis Daewoo America is required fully to understand this case. Part II discusses Daewoo America’s claims in detail, and illustrates that most of them do not put the validity of the Korean bankruptcy proceeding in issue. Part III groups and analyzes those remaining claims, revealing them to be groundless. Part IV briefly concludes.
I.
Daewoo America was the seller, distributor and warranty provider of Daewoo automobiles in North America. On November 18, 1999, Daewoo America and Daewoo Korea, its parent company, entered into the Distribution Agreement. The Distribution Agreement states, in relevant part:
Whereas, Seller [Daewoo Korea] is the exclusive worldwide distributor of the Products (as defined in Section 1), which are manufactured by Seller;
Whereas, Seller, as exclusive worldwide distributor has the right to grant to others the exclusive right to sell the *1262products [sic] in certain regions, including the Territory (as defined in Section 2);
... Seller hereby agrees to sell to Buyer [Daewoo America] and Buyer hereby agrees to purchase from Seller the Products for resale or for rental or lease in the Territory. For purposes of this Agreement, “Products” shall mean the motor vehicles provided on Exhibit A attached hereto (as said Exhibit A may be amended from time to time by Seller to add or delete motor vehicle models) and the parts, accessories and equipment therefor, together with any warranty provided by the Seller at no cost to Buyer.2
Seller hereby grants to Buyer the exclusive right to distribute, sell, rent, lease and otherwise dispose of (collectively “Sell”) and service, directly or through one or more subsidiaries or independent contractors, the Products in the United States and all territories and possessions thereof (collectively, “Territory”). Seller shall not Sell or service, directly or indirectly, or permit any other person or corporation, partnership, limited liability company or their entity to Sell or service the Products in the Territory.
Doc. 144, Ex 7. The term of the agreement was ten years (unless terminated under certain conditions), and would automatically renew every five years unless either party specified otherwise. Daewoo Korea manufactured the vehicles and parts it delivered to Daewoo America at its plants in South Korea and Vietnam (the “Daewoo Korea Plants”).3
Daewoo Korea filed for bankruptcy in South Korea in November 2000. The record makes clear that Daewoo America was fully aware of Daewoo Korea’s financial distress, and knew that Daewoo Korea was negotiating the sale of a substantial portion of its assets to GM. Moreover, Daewoo America was on notice that those assets included the Dae-woo Korea Plants. In a November 9, 2000 letter to its employees, Daewoo America stated that “under creditor and court imposed receivership, Daewoo Motor Korea is solidly positioned to proceed with concluding the transition of the company to a new owner on an accelerated basis, such as the possibility of General Motors.” Doc. 123, Ex. 7. Around this time, Daewoo America claims that GM, without its knowledge, entered into negotiations with Suzuki for the purpose of forming an acquisition partnership for Daewoo Korea’s assets. Am. Compl. ¶ 28.
Daewoo America alleges that GM promised to continue using it as the distributor of Daewoo vehicles and parts in the United States after it completed its acquisition of Daewoo Korea’s assets. Am. Compl. ¶ 34. Daewoo America further claims that, in reliance on this alleged promise, it initially continued to expand its dealership network by entering into new dealership agreements. Id. at ¶ 35.
*1263On September 20, 2001, Daewoo Korea (and its bankruptcy receiver) entered into a non-binding Memorandum of Understanding (the “MOU”) with GM. The MOU provided that certain Daewoo Korea domestic and foreign assets, including several manufacturing facilities, would be transferred to and controlled by a newly-formed company owned by GM and a consortium of investors (later named “GMDAT”). According to Daewoo America, it was listed among the sale assets described in the MOU. On September 26, 2001, the Korean bankruptcy court approved the MOU. At subsequent due diligence meetings between Daewoo America and GM, Daewoo America claims that GM specifically asked it temporarily to halt the appointment of new Daewoo dealers, because GM would be in a position to assist it in identifying new dealers once the acquisition closed. Am. Compl. ¶ 38.
Daewoo America claims that, at a November 9, 2001 meeting in Seoul, South Korea, GM again indicated that it would continue to be the primary distributor of Daewoo vehicles in North America. In reliance on these and other statements made by GM, Daewoo America claims that it refrained from adding new dealers to its network and continued to accumulate inventory at its ports. Am. Compl. ¶ 40. Daewoo America also purportedly secured GM’s verbal promise that it would not “rebadge” the Daewoos it manufactured at the Daewoo Korea Plants. Id. The effect of such rebadging, presumably, would be to cut Daewoo America out of the distribution chain, because the Distribution Agreement authorized Daewoo America to sell and distribute vehicles under the Daewoo brand, and no others.
Daewoo America also asserts that during an automotive convention in or around January 2002, it had a display booth next to that of GM and GM’s financing arm, which “strongly implied the forthcoming anticipated alliance of [Daewoo America] with GM.” Am. Compl. ¶ 42. Moreover, GM executives represented to Daewoo America during that convention that they looked forward to a working relationship between the two companies. Id.
Despite all of these promises from GM, Daewoo America still felt it necessary to express its “extreme concerns about the far reaching negative implications of the possible exclusion of [Daewoo America]’s U.S. operations from the agreements associated with General Motors’ pending acquisition of certain assets of Daewoo Korea” in a letter dated March 27, 2002 to GM’s senior executives. In Daewoo America’s view, these concerns “include[ed] the potential breach arising from the [Distribution Agreement] between Daewoo Korea and [Daewoo America].” Doc. 124 Ex. 21 at DMA000071.
On April 30, 2002, Daewoo Korea and GM executed the Master Transaction Agreement (“MTA”). The agreement created GMDAT, which received certain of Daewoo Korea’s assets, including the Dae-woo Korea Plants. On September 12, 2002, Daewoo Korea filed a modified reorganization plan (the “Modified Plan”), which incorporated the terms of the MTA. Daewoo America was not among the assets sold in the transaction. The MTA also permitted the sale of Daewoo-brand vehicles throughout the world, and allowed vehicles manufactured at the Daewoo Korea Plants to be sold in North America under non-Daewoo brand names. In 2003, after the asset sale closed, GM and Suzuki announced that they would begin exporting vehicles manufactured at the Daewoo Korea Plants to the United States for sale under the Chevrolet and Suzuki brands.
Daewoo America’s financial difficulty— much of which it blames on the defendants’ purported misrepresentations and eon-*1264duct — led it to seek Chapter 11 bankruptcy relief in the United States Bankruptcy Court for the Central District of California on May 16, 2002. As part of the bankruptcy filing, an automatic stay under 11 U.S.C. § 362(a) was put in place, which froze Daewoo America’s assets, brought them under the control of the bankruptcy court, and barred any other persons or entities from attempting to obtain possession of or exercise control over them.4 Daewoo America thereafter instructed its United States and Korean counsel to explore potential causes of action arising out of Daewoo Korea’s asset sale. It also communicated to the California bankruptcy court its full intention “to pursue litigation” against Daewoo Korea, GM, “and other parties relating to the sale of assets of Daewoo Korea to a consortium consisting of GM and certain creditors of Daewoo Korea.” Doc. 125, Ex. 28. Daewoo America never notified the Korean bankruptcy court, or any other Korean Court, of its concerns with respect to GM’s conduct.5
On July 22, 2003, Daewoo America commenced an adversary proceeding in the California bankruptcy court by filing a multi-count complaint (the “Original Complaint”) against GM, GMDAT, Suzuki and American Suzuki. Reduced to its essentials, the Original Complaint alleged that (1) Daewoo America reasonably relied on GM’s misrepresentations, and (2) this gave GM and its partners the opportunity to supplant Daewoo America as the exclusive distributor of Daewoo automobiles in the United States. This outcome, according to Daewoo America, was fraudulent, and resulted in, among other things, injury to competition and unjust enrichment of the defendants.6 To salve its injuries, Daewoo America requested both damages and in-junctive relief. In further pursuit of its prayer for injunctive relief, Daewoo America moved the court to issue a temporary restraining order preventing the defendants from importing the Chevrolets and Suzukis manufactured at the Daewoo Korea Plants. The California bankruptcy court denied the motion. GM and Suzuki thereafter moved the court to dismiss most of Daewoo America’s claims pursuant to Federal Rule of Civil Procedure 12(b)(6). The California bankruptcy court denied the motions in part and granted them in part with leave to amend.
On November 20, 2003, Daewoo America filed an Amended Complaint,7 which added *1265several claims but was otherwise based on the same conduct alleged in the Original Complaint.8 GM, GMDAT, and American Suzuki moved the bankruptcy court for dismissal pursuant to Rule 12(b)(6). The court denied GM’s motion as to the First, Second, Third and Fourth Claims. The court granted the motions without leave to amend as to the Fifth, Sixth, Thirteenth and Fourteenth Claims. The court also granted the motions with respect to the Eleventh and Twelfth Claims, but with leave to amend. To determine Daewoo America’s rights under the Distribution Agreement, and to consider whether the Korean bankruptcy court’s approval of the asset sale should be accorded international comity, the court deferred ruling on the motions to dismiss Daewoo America’s Seventh, Eighth, Ninth and Tenth Claims. In so doing, the court recognized the possibility that a judgment for Daewoo America on these claims could constitute a collateral attack on the Korean bankruptcy court’s orders.
Before the bankruptcy court could hear argument on the international comity issue, the Judicial Panel on Multidistrict Litigation (the “JPML”) transferred the proceeding to the United States District Court for the Middle District of Florida, where several Daewoo automobile dealerships had filed suit against GM, GMDAT and American Suzuki.9 That court, like the California bankruptcy court before it, instructed the parties to submit supplemental briefs on whether international comity should bar Daewoo America’s claims. After an August 20, 2004 hearing, *1266the court entered an order dismissing the Amended Complaint with prejudice.10
The district court made two broad rulings. First, it concluded that the asset sale to GM did not violate the automatic stay put in place by Daewoo America’s bankruptcy, because the Distribution Agreement gave Daewoo America no property rights in Daewoo Korea’s assets. In other words, Daewoo America did not own any of the property Daewoo Korea sold to GM and its partners. Additionally, the Distribution Agreement did not support Daewoo America’s contention that it had a perpetual right to sell and distribute cars manufactured in the Daewoo Korea Plants, regardless of who owned those plants and regardless of the branding of those cars. Its rights pertained specifically and exclusively to cars sold by Daewoo Korea under the Daewoo brand. Second, the court found that the remainder of Daewoo America’s claims functioned as a collateral attack on the Korean bankruptcy court’s orders approving the sale of Daewoo Korea’s assets to GM. To avoid review of the Korean proceedings, and to accord them due respect, the court declined to exercise its jurisdiction on the grounds of international comity. The court concluded that doing so was appropriate because: (1) there is little difference between United States and Korean bankruptcy law; (2) Korea had a significant interest in the reorganization of Daewoo Korea, and; (3) Daewoo America was notified of and fully participated in the reorganization proceedings but chose not to oppose them.11 Dae-woo America moved the court to clarify and reconsider its decision. The court denied the motion and entered final judgment for GM and the other defendants. This appeal followed.
II.
As previously indicated, the Amended Complaint contains fourteen claims. Each is directed at the conduct of GM and the other defendants. In my view, only claims Four, Eight, Nine, and Ten, which I discuss in subsection II.B., necessarily implicate the validity of the Korean bankruptcy court’s proceedings and orders. The remaining ten claims, by contrast, concern the defendants’ conduct separate and apart from those proceedings and orders.
*1267A.
The First Claim sounds in fraud.12 The claim is that GM falsely represented that it would continue Daewoo Korea’s distribution relationship with Daewoo America; that Daewoo America would have the exclusive right to sell and distribute the vehicles made at the Daewoo Korea Plants now operated by GMDAT; that Daewoo America reasonably relied on GM’s misrepresentation to its detriment by foregoing its right to file a claim against Daewoo Korea during the Korean bankruptcy proceedings, or to otherwise oppose that court’s approval of the asset sale; and that Daewoo America continued to purchase Daewoo Korea parts and to add dealerships to its network of dealers, based on its expectation that GM would keep its word.
The Second Claim, Tortious Interference with Contract against GM, is that Daewoo America’s contracts have been interrupted “as a result of GM’s acquisition” of the Daewoo Korea Plants. Daewoo America accuses GM of intentionally interfering with Daewoo Korea’s performance of the Distribution Agreement (i.e., Dae-woo Korea’s delivery of cars) and, by extension, interfering with Daewoo America’s ability to provide its dealerships with cars. The tort alleged here is not the GM acquisition itself; the validity of the acquisition is not questioned. Rather, at issue is the termination of Daewoo America’s car supply, and GM’s role and intention in bringing about that termination. Put another way, it is the goal of the acquisition that is at issue, with Daewoo America insisting that GM purchased the Daewoo Korea assets specifically to cause it economic harm. The acquisition is merely the vehicle by which GM fulfilled its tortious purpose.
The Third Claim is that GM tortiously interfered with Daewoo America’s “Prospective Economic Advantage,” which is described as the expected expansion of Daewoo America’s distribution and servicing network. Again, Daewoo America focuses on GM’s statements — in particular, GM’s request that Daewoo America cease entering into new dealership agreements. Daewoo America in effect claims that GM promised to assume Daewoo Korea’s performance of the Distribution Agreement and that it relied on the promise and complied with GM’s request. In Daewoo America’s view, GM’s promise caused it to forego the expansion of its dealership network and, resultantly, to forego the profit it would have realized through that network expansion.
Daewoo America’s Fifth Claim is that the all of the defendants violated California’s Cartwright Act,13 an antitrust statute; they “conspired, combined, and entered [into] agreements to limit or reduce production, or increase the price, or prevent” Daewoo America from competing in the distribution and sale of Daewoos. Although Daewoo America acknowledges that the “Master Transaction Agreement operates to eliminate competition,” and that the agreement supplants its distribution rights, it focuses more on what the defendants did after they began to import Daewoos for sale in the United States. The defendants have cut off its supply of cars, and have been distributing the cars Daewoo America believes it should be distributing. Daewoo America attacks not the MTA, but the defendants’ use of the assets the MTA provided. In other words, Daewoo America believes that the defendants have used these assets for an illegal, *1268anticompetitive purpose, whether those assets were acquired validly or not.
The Sixth Claim, Unfair Competition under California law, is a “catch-all” cause of action, which incorporates the First through the Fifth claims and all of the defendants’ conduct described in the Amended Complaint.14 Daewoo America alleges that the defendants have caused its business to be “substantially impaired or destroyed” and that it has “no adequate remedy at law” for its injuries. As indicated above, Daewoo America finds fault in much of the defendants’ conduct, most of which was not material to the issues litigated in the Korean bankruptcy.
Daewoo America’s Seventh Claim, Successor Liability against GMDAT, is that Daewoo Korea executed the sale of its assets “for the fraudulent purpose of escaping [its] debts and liabilities to [Daewoo America].” Among those unpaid debts and liabilities was Daewoo Korea’s obligation under the Distribution Agreement to supply Daewoo America with cars for sale and distribution in the United States. Because GMDAT ran Daewoo Korea’s automotive manufacturing business both before and after the acquisition, received Daewoo Korea’s assets, and continued to employ many of Daewoo Korea’s workers, GMDAT is Daewoo Korea’s successor-in-interest. As such, “GMDAT is liable ... to the same extent as Daewoo Korea.” Though obvious, it is worth emphasizing that this claim is directed at GMDAT, not Daewoo Korea. Far from attacking the validity of the Korean bankruptcy court’s proceedings and the resultant asset sale, this Seventh Claim is simply seeking to enforce the bankruptcy court’s order.15
The Eleventh Claim, Constructive Termination of the Distribution Agreement under Florida law,16 is that GM’s acquisition of the Daewoo Korea Plants and the defendants’ sale in the United States of the vehicles manufactured at those plants operated to terminate the Distribution Agreement and Daewoo America’s agree*1269ments with its Florida automotive dealers. Like the Second and Fifth Claims, this claim rests on what happened after GM and its partners purchased the Daewoo Korea Plants, and not on the invalidity of the acquisition itself. Again, Daewoo America focuses on the “rebadging” of Daewoos manufactured in the Daewoo Korea Plants, which the defendants market and sell in the United States, and the termination of its supply of cars for sale and distribution in the same geographic market. The validity of the asset sale has no bearing on the legal sufficiency of this claim.
The Twelfth and Thirteenth claims are statutory, Illegal Conduct Related to a Motor Vehicle Business under Florida law,17 and Constructive Termination of the Distribution Agreement Against GM under Massachusetts law.18 GM’s overall conduct caused Daewoo America to suffer a pecuniary loss or other adverse affect in carrying out its business. As is the case with the Sixth Claim, Daewoo America supports these claims by referring to conduct completely separate from that involved in the Korean bankruptcy court’s proceedings.
The Fourteenth Claim, Constructive Termination of the Distribution Agreement,19 is directed against all of the defendants and is substantially similar to the Second Claim. It alleges that the defendants, by refusing to supply Daewoo America with the cars manufactured in the Daewoo Korea Plants, and by selling and distributing those cars in the United States themselves, have effectively terminated both the Distribution Agreement and Daewoo America’s agreements with its dealers. Like the Second Claim, Daewoo America puts the defendants’ intent in issue; they purchased the Daewoo Korea Plants for the purpose of terminating Dae-woo America’s agreements with malice or in bad faith.
Daewoo America’s factual allegations can be separated into two categories. The first consists of the defendants’ “promise” that Daewoo America would have a role in the post-transfer, post-Daewoo Korea period; it would distribute the cars manufactured at the Daewoo Korea Plants. Dae-woo America relied on this promise. The promise went for naught, however, when GM and Suzuki agreed that the cars produced at those plants would be rebadged and distributed by Suzuki. The second category assumes that the defendants eliminated Daewoo America’s vehicle supply for anticompetitive purposes, led Dae-woo Korea to shirk its delivery responsibilities under the Distribution Agreement, and refused to take on those delivery responsibilities in Daewoo Korea’s stead. *1270Claims Six, Thirteen, and Fourteen assert conduct falling under both categories.
The district court’s order provides no explanation as to how the validity of the MTA, the Korean bankruptcy court’s orders, or the Korean bankruptcy proceedings might have any impact on these claims. Indeed, such validity is irrelevant to the question of whether GM’s promise to make Daewoo America its United States distributor was intentionally untruthful. Likewise, such invalidity is irrelevant to the question of whether the defendants eliminated Daewoo America’s vehicle supply with tortious or anticompetitive intent. Moreover, as I have explained, Daewoo America’s Seventh Claim, the Successor Liability claim against GMDAT, is entirely dependent on the validity of the Korean bankruptcy proceedings; Daewoo America cannot recover against GMDAT as Daewoo Korea’s successor if the transaction by which GMDAT gained that position is voided. In sum, I cannot agree with the court that addressing these claims would necessitate the review, and perhaps invalidation, of one or more of the decisions of the Korean bankruptcy court. According to that court’s decisions, international comity simply ignores claims that are entirely foreign to that court’s proceedings and jurisdiction. These claims should be dismissed on the ground that they are legally insufficient, not because international comity forecloses their consideration.
B.
Unlike the claims discussed above, the Fourth, Eighth, Ninth and Tenth Claims, by their nature, call the Korean bankrupt-ey court’s orders and proceedings into question. The Fourth Claim, Aiding and Abetting Breach of Fiduciary Duty, is that Daewoo Korea, as Daewoo America’s controlling shareholder, had a fiduciary duty to preserve and maximize Daewoo America’s assets and to prevent the subsidiary’s insolvency — for the benefit of both Daewoo America and its creditors. These assets, according to Daewoo America, included its right under the Distribution Agreement to receive cars from the Daewoo Korea Plants and to sell and distribute them in the United States. GM was aware of Dae-woo Korea’s fiduciary duty, but through the MTA and other agreements, provided Daewoo Korea with “substantial assistance” in breaching that duty. To grant Daewoo America relief on this claim, the court would have to find that the asset transfer itself was a tortious act, constituting a breach of Daewoo Korea’s fiduciary responsibilities.
The Eighth Claim, Unauthorized Post-Petition Transfer, is brought against all of the defendants.20 The claim is that Dae-woo America’s property, namely Daewoo America’s exclusive right to sell and distribute Daewoo automobiles in the United States, was unlawfully transferred to the defendants after Daewoo America filed for bankruptcy relief in the California bankruptcy court. Similarly, the Ninth and Tenth Claims, Violation of the Automatic Stay (against all defendants and GM, respectively), assert that Daewoo America’s exclusive distribution rights were given away when the automatic stay specifically forbade “any acts to obtain possession of property of the estate or of property from *1271the estate or to exercise control over property of the estate.”
In each of these four claims, Daewoo America points to the asset transfer itself as the illicit conduct. It cites no additional conduct in support of these claims. The Korean bankruptcy court approved the MTA and incorporated it into Daewoo Korea’s reorganization plan. Thus, Daewoo America cannot attack the MTA without also attacking the Bankruptcy court’s approval of it; the two are inextricably intertwined. With respect to these claims, I therefore agree with the court that they amount to nothing more than a collateral attack on the Korean bankruptcy court’s orders. Indeed, in contending that it has “no adequate remedy at law” for the harm the asset transfer has caused and asking that “the unauthorized post-petition transfer be set aside,” Daewoo America reveals that the objective of these claims is the unwinding of the asset transfer.
I am satisfied that international comity is an appropriate basis for disposing of these four claims. Given the manner in which Daewoo America has pleaded them, the district court would have no choice but to reevaluate the decisions by the Korean bankruptcy court. As the court aptly states, “granting the relief sought would require the [district] court to set aside the asset transfer to the defendants, which was approved by the Korean court.” Ante at 1259. Such a collateral attack should not be entertained, and the district court’s abstaining from deciding the merits of these claims in no measure constituted an abuse of discretion.
III.
I turn now to what I consider is the appropriate manner in which to address the remaining issues presented by this appeal. When deciding whether a plaintiffs claims should be dismissed, we must view the complaint in the light most favorable to the plaintiff and accept the well-pleaded facts as true. Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683, 1687, 40 L.Ed.2d 90 (1974); St. Joseph’s Hosp., Inc. v. Hosp. Corp. of Am., 795 F.2d 948, 953 (11th Cir.1986). A court “may dismiss a complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) when, on the basis of a dispositive issue of law, no construction of the factual allegations will support the cause of action.” Marshall County Bd. of Educ. v. Marshall County Gas Dist., 992 F.2d 1171, 1174 (11th Cir.1993) (citing Executive 100, Inc. v. Martin County, 922 F.2d 1536, 1539 (11th Cir.1991)).
The claims in this case can be grouped into three core theories of recovery,21 each of which turns on Daewoo America’s interpretation of the Distribution Agreement. In the first group, Daewoo America’s theme is that GM, in purchasing the Dae-woo Korea Plants, and the defendants, in subsequently distributing and selling vehicles and parts manufactured by those plants, misappropriated Daewoo America’s distribution rights granted by the Distribution Agreement. I label this the “Conversion Theory.” In the second group, Daewoo America asserts that the Distribution Agreement guaranteed it a continuous supply of vehicles and parts, even after GM and its partners purchased the Dae-woo Korea Plants. I label this the “Con*1272tinuous Supply Theory.” In the third group, Daewoo America’s theme is that it had the right to stop (or at the very least, to challenge) Daewoo Korea’s sale of the Daewoo Korea Plants to GM and its partners, but gave up that right based on GM’s promises. I call this the “Fraud Theory.” Because I agree that international comity adequately resolves the “Conversion Theory” claims (the Fourth, Eight, Ninth, and Tenth claims of the Amended Complaint), I do not address their merits. I analyze the remaining theories in turn.
A.
The Second, Third, Fifth, Seventh, Eleventh, and Fourteenth claims rely on the Continuous Supply Theory. Daewoo America contends that the Distribution Agreement entitles it to receive and distribute vehicles from the Daewoo Korea Plants until at least 2009. From its perspective, Daewoo America still has the right to receive and distribute vehicles made in the Daewoo Korea Plants, despite the fact that Daewoo Korea no longer makes Daewoos for sale in the United States. Indeed, Daewoo America acknowledges that its distribution rights are not affected by the distribution and sale of just “any vehicle that happens to be manufactured by GMDAT or branded Chevrolet or Suzuki,” only those manufactured in the Daewoo Korea Plants. Reply Brief of Appellant at 6-7 (emphasis in original) (internal quotations omitted). Moreover, when the defendants distribute those vehicles under the Chevrolet and Suzuki brands, Daewoo America insists that its right to delivery of vehicles is further denied.
The Second Claim, Tortious Interference with Contract, paints the asset transfer as disruptive of the Distribution Agreement, under which Daewoo Korea had an obligation to provide Daewoo America with vehicles. The acquisition of the Daewoo Korea Plants caused Daewoo Korea to be unable to deliver cars to Daewoo America. Am. Compl. ¶ 76. This inability, in turn, interfered with Daewoo America’s dealership agreements, under which the vehicles were distributed in the United States. Id. The assumption underlying this claim is that Daewoo Korea’s inability to provide Daewoo America with cars, breaches the terms of the Distribution Agreement.
The Third Claim accuses GM of tortiously interfering with Daewoo America’s prospective economic advantage, “through its fraudulent misrepresentations and omissions.” Am. Compl. ¶ 84. GM’s purported misrepresentations aside, the prospective opportunities Daewoo America claims to have lost exist only if it had a right to be supplied with vehicles after Daewoo Korea’s reorganization and asset sale. In other words, absent the right to a supply of vehicles on which to build its distribution and service network, Daewoo America has no prospective business opportunities to be injured.
Daewoo America’s Fifth Claim asserts that the defendants violated California’s Cartwright Act, which prohibits agreements among individuals or companies that restrain or eliminate trade. See Lowell v. Mother’s Cake &amp; Cookie Co., 79 Cal.App.3d 13, 144 Cal.Rptr. 664, 671 (1978). According to Daewoo America, the defendants conspired to eliminate competition in the United States Daewoo distribution market22 by executing the MTA (i.e., *1273taking control of the exclusive means of Daewoo parts and vehicle production), and by depriving it of Daewoo vehicles. Am. Compl. ¶ 100.23 This deprivation of vehicles presumably harmed Daewoo America and its consumers by freeing defendants to “prevent competition, limit or reduce production, or increase prices.” Am. Compl. ¶ 106. Daewoo America posits that, by operation of law, it has the right to compete in the relevant market, which requires the defendants to supply it with vehicles.
The Seventh Claim, Successor Liability, attempts to place GMDAT in Daewoo Korea’s shoes, making GMDAT responsible for Daewoo Korea’s alleged breach of the Distribution Agreement. Again, Daewoo America focuses on the loss of its vehicle supply, stating that Daewoo Korea’s asset transfer to GMDAT was an attempt to escape its “debts and liabilities to [Daewoo America] ... leaving [Daewoo America] with an insolvent shell with no Daewoo vehicles or parts to distribute.” Am. Compl. ¶ 122. GMDAT can only be responsible for the supposed “debts and liabilities” if Daewoo Korea’s obligation to deliver cars to Daewoo America did not terminate with the transfer of its assets to GMDAT.
The Eleventh and Fourteenth Claims allege that Daewoo America has been unable to obtain vehicles to distribute because GM excluded it from the assets it acquired via the MTA. Am. Compl. ¶ 145, 163. According to Daewoo America, its inability to obtain Daewoo automobiles, coupled with the defendants’ subsequent sale and distribution of “rebadged” Dae-woos, constructively terminated the Distribution Agreement and Daewoo America’s franchise agreements with its dealer network. This is only problematic, of course, if GM has some obligation to assist Dae-woo America to perform its contracts.
Finally, in the Thirteenth Claim, Constructive Termination of the Distribution Agreement, Daewoo America contends that GM’s conduct, as described throughout the Amended Complaint, terminated the Distribution Agreement and its ability to receive and distribute Daewoo vehicles. “GM’s illegal conduct caused [Daewoo America] to suffer pecuniary loss or to be otherwise adversely affected, by virtue of the fact that [its] distribution agreement was discontinued, cancelled, not renewed, modified or replaced.” Cutting off its supply of Daewoo automobiles may have injured Daewoo America, but it is only tor-tious if Daewoo America had a right not to be injured. Stated differently, unless GM’s decision to exclude Daewoo America from the United States Daewoo distribution network denied Daewoo America a right it had to be part of that network, GM’s conduct was not tortious.
Daewoo America’s right to receive Dae-woo vehicles from Daewoo Korea and distribute them in the United States was created by the Distribution Agreement. Accordingly, that agreement is the only basis on which Daewoo America can legitimately claim it has any right to a continuing supply of vehicles.24
*1274In Daewoo America’s view, “[n]othing in the contract supports ... a reading” that it “had the exclusive U.S. distribution rights to a vehicle model only so long as that model was manufactured by [Daewoo Korea].” Brief of Appellant at 31-32. Daewoo America observes that “the Distribution Agreement conferred on [it], for ten years, the rights not only (1) to serve as the United States distributor of the Covered products;25 and (2) to do so exclusively, but also (3) to receive a supply of the Covered products needed to carry out its role as the exclusive U.S. distributor.” Id. at 31. Daewoo America also rightly points out that “the Distribution Agreement broadly prohibited [Daewoo Korea] from permitting third parties to sell the Covered products in the United States or otherwise circumventing [Daewoo Americans exclusive distribution rights.” Id. at 32-33.
That the Distribution Agreement contains these rights and obligations is not disputed by the defendants. This, however, is not the question. Rather, the question is whether Daewoo Korea either promised not to sell the Daewoo Korea Plants if the prospective buyer refused to assume its responsibilities under the Distribution Agreement or, alternatively, whether Daewoo Korea guaranteed that Daewoo America would be provided with vehicles and parts regardless of who owned the Daewoo Korea Plants. The answer rests on the definition of two key terms in the Distribution Agreement: “Seller” and “Product.”
The plain language of the Distribution Agreement designates Daewoo Korea as the “Seller” of “Products,” and Daewoo America as the “Buyer” and exclusive United States distributor of those Products. The term “Seller” refers solely to Daewoo Korea; it makes neither specific nor general reference to any other entity of any kind. Daewoo America argues that its rights cannot be limited solely to “Seller’s” Products because “[t]he Distribution Agreement does not state that [Daewoo America] will have exclusive U.S. distribution rights ‘so long as the Products are manufactured by [Daewoo Korea]’ or ‘so long as the Products bear the “Daewoo” trademark.’ ” Id. at 32. This argument is belied by the language of the agreement: “Seller is the exclusive worldwide distributor of the Products (as defined in Section 1), tvhich are manufactured by Seller.” Doc. 144, Ex. 7 (emphasis added). Dae-woo America essentially argues that Dae-woo Korea intended to impart distribution rights to vehicles not mentioned in the Distribution Agreement, which Daewoo Korea did not manufacture, and over which Daewoo Korea exercised no control, simply because the Distribution Agreement does not state otherwise. This assertion is nothing if not incredible.
The Distribution Agreement defines the term “Products” as “the motor vehicles provided on Exhibit A attached hereto (as said Exhibit A may be amended from time to time by Seller to add or delete motor vehicle models) and the parts, accessories and equipment therefor.” Although the parties neglected to attach Exhibit A to the Distribution Agreement, nothing in this definition or the remainder of the Distribution Agreement suggests that the Products will be provided by anyone other than the Seller (namely, Daewoo Korea). *1275It is to these Products that Daewoo America’s exclusive distribution rights attach, and no others; the agreement does not address other brands or types of vehicles, nor does it make reference to other manufacturers.
In sum, the plain language of the Distribution Agreement contains no guarantee that Daewoo America would continue to receive Products after Daewoo Korea ceased manufacturing them, nor does the agreement restrict Daewoo Korea’s ability to sell its manufacturing assets. Again, Daewoo Korea’s assets are not mentioned in the agreement at all. To the extent Daewoo America’s claims rely on the existence of such guarantees, they must fail.
B.
According to the First Claim for fraud, GM falsely represented that it would continue the Daewoo distribution relationship Daewoo America enjoyed with Daewoo Korea. Daewoo America believes that GM made this false promise to “encourage [it] not to take any action that might interfere with GM’s acquisition plans.” Am. Compl. ¶ 68. To be clear, Daewoo America does not allege that GM specifically offered to engage Daewoo America as the exclusive United States Daewoo distributor in exchange for Daewoo America’s acceptance of the MTA or the Modified Plan; such an allegation appears nowhere in the Amended Complaint. Rather, Daewoo America simply claims that it abandoned its right to “oppose the acquisition” in reasonable reliance on GM’s supposed misrepresentations.
Analyzing the terms of the Distribution Agreement does not lead to the conclusion that Daewoo America had any right to prevent Daewoo Korea from selling its assets to GM. As already shown, the Distribution Agreement neither expressly nor impliedly provides Daewoo America with any rights respecting the disposition of Daewoo Korea’s property. Moreover, Daewoo America has offered no theory, legal or otherwise, on which the court could infer the existence of such a right. As such, Daewoo America cannot prove that GM’s alleged misrepresentations caused it any harm. It cannot show that, even if it had opposed the asset sale, the Korean bankruptcy court would have ruled differently.26 Accordingly, Daewoo America’s fraud claim cannot stand.
IV.
I share the court’s view that Daewoo America is simply attempting to return itself to its former position as exclusive United States Daewoo distributor, in complete disregard for the time and substantial effort that the Korean bankruptcy court expended in managing Daewoo Korea’s reorganization. Nevertheless, it is patently clear that the court, like the district court, rushed into abstention, dismissing Daewoo America’s Amended Complaint in its entirety when, in fact, the international comity doctrine has only limited application. I believe such judicial expediency to be unnecessary, especially considering that “[fjederal courts have a ‘virtually unflagging obligation’ to exercise the jurisdiction conferred upon them.” Turner Entm’t Co. v. Degeto Film GmbH, 25 F.3d 1512, 1518 (11th Cir.1994) (quoting Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 817, 96 S.Ct. 1236, 1246, 47 L.Ed.2d 483 (1976)). I would therefore analyze the claims pre*1276sented by Daewoo America and, because they lack substance, dismiss them.

. I therefore would affirm the district court’s disposition of this case which is why I concur in the judgment of the court. See Bonanni Ship Supply, Inc. v. United States, 959 F.2d 1558, 1561 (11th Cir.1992) (”[T]his court may affirm the district court where the judgment entered is correct on any legal ground regardless of the grounds addressed, adopted or rejected by the district court.”).


. Although the Distribution Agreement states that the "Products” covered by the agreement are enumerated in an attached "Exhibit A,” the district court found, and the litigants agreed, that no such exhibit ever existed.


. According to the Amended Complaint, the plants ultimately sold to GM and transferred to GMDAT "included those located in Chang-woon and Kunsan, South Korea, and another located in Hanoi, Vietnam,” and that GM also had "an obligation to acquire, pending the satisfaction of certain conditions, or the waiver of those conditions by [GMDAT], the Dae-woo Korea plant in Bupyong, South Korea.” Am. Compl. ¶ 51.


. "Except as provided in subsection (b) of this section, a petition filed under section 301, 302, or 303 of this title, or an application filed under section 5(a)(3) of the Securities Investor Protection Act of 1970, operates as a stay, applicable to all entities, of ... any act to obtain possession of property of the [bankruptcy] estate or of property from the estate or to exercise control over property of the estate...." 11 U.S.C. § 362(a)(3).


. The "proof of claim" to which the court refers, ante at 1252, was against Daewoo Korea for various charges related to their parent/subsidiary relationship. These charges had nothing to do with the defendants or the claims in this lawsuit. Likewise, the complaint filed by Daewoo America against Daewoo Korea and its receiver, which it subsequently dismissed, did not involve the defendants' conduct. Ante at 1252.


. Daewoo America's Original Complaint contained eleven counts or "claims.” It is unnecessary to detail the allegations of these claims because, with the exception of its claim sounding in "unjust enrichment," which the California bankruptcy court dismissed for failure to state a claim for relief, they were replicated by the claims asserted in the Amended Complaint.


. The Amended Complaint, a typical "shotgun pleading" containing multiple counts, each incorporating by reference all the (usually irrelevant) allegations of previous counts, see Strategic Income Fund, LLC v. Spear, Leeds &amp; Kellogg Corp., 305 F.3d 1293, 1295 n. 9 (11th *1265Cir.2002), includes the following fourteen claims: (1) Fraud against GM; (2) Tortious Interference with Contract against GM; (3) Tortious Interference with Prospective Economic Advantage against GM; (4) Aiding and Abetting Breach of Fiduciary Duty against GM; (5) Violation of the Cartwright Act against all defendants; (6) Unfair Competition against all defendants; (7) Successor Liability against GMDAT; (8) Unauthorized Post-Petition Transfer (11 U.S.C. § 549) against all defendants (9) Violation of the Automatic Stay (11 U.S.C. § 362) against all defendants; (10) Violation of the Automatic Stay (11 U.S.C. § 362) against GM; (11) Constructive Termination of the Distribution/Franchise Agreement (Fla.Stat. § 320.641) against all defendants; (12) Illegal Conduct Related to Motor Vehicle Business (Fla.Stat. § 320.64(4)) against GM; (13) Termination of the Distribution Agreement (Mass. Stat. 93B § 4(c)(12)) against GM, and; (14) Constructive Termination of the Distribution Agreement (Mass. Stat. 93B § 5) against all defendants. These claims are described in full in the text, infra.


. The court states that "[o]n eleven of fourteen claims, the relief sought [by Daewoo America] is an injunction against the defendants," and “[o]n another claim, the relief sought is that the transfer must be set aside." Ante at 1259 (internal quotation omitted). While in a sense true, this observation is somewhat misleading. Daewoo America did ask for injunctive relief on eleven of its claims, but it also asked for damages on thirteen of them. In fact, it asked exclusively for damages in two claims, whereas it asked exclusively for an injunction in only one. Curiously, the court neglects to mention any of this. I can only conclude that its omission was calculated to bolster its argument that giving Daewoo America the relief it has requested would require us to unwind the asset sale to GM, and would also require us to invalidate the Korean court's orders and proceedings. Awarding Daewoo America damages pursuant to its claims, however, would do nothing to disturb GM's ownership interest in GMDAT, nor would it affect GMDAT’s continued control of the Daewoo Korea Plants and other assets.


. In claims similar to those filed by Daewoo America, several Daewoo dealerships accused GM, GMDAT and American Suzuki of being responsible for terminating the supply of Dae-woo vehicles and parts that Daewoo Korea exported to the United States. The district court dismissed the dealerships’ complaint with prejudice on January 6, 2005. In re Daewoo Motor Co. Ltd. (Dealership Litigation), No. JPML-1510, January 6, 2005.


. In its order, the court made no mention of the California bankruptcy court’s dispositive rulings on the merits of Daewoo America’s claims. I can only assume that the court ruled as though it had the entire Amended Complaint before it, and thus dismissed the Amended Complaint in its entirety.


. Pursuant to Federal Rule of Civil Procedure 12(b), a district court generally must convert a motion to dismiss into a Rule 56 motion for summary judgment if the court considers materials outside of or not attached to the complaint. Day v. Taylor, 400 F.3d 1272, 1275-76 (11th Cir.2005). Under most circumstances, such material would not be part of the record underpinning a Rule 12(b)(6) ruling. Harris v. Ivax Corp., 182 F.3d 799, 802 n. 2 (11th Cir.1999) (citing 5A Charles A. Wright &amp; Arthur R. Miller, Federal Practice and Procedure § 1357, at 299 (2d ed.1990)). Here, the district court’s disposi-tive order made reference to several documents, such as the Distribution Agreement and the MTA, that were not attached to the Amended Complaint. Nevertheless, "[ojur prior decisions also make clear that a document need not be physically attached to a pleading to be incorporated by reference into it; if the document's contents are alleged in a complaint and no party questions those contents, we may consider such a document” if that document is central to the plaintiff's claims. Day, 400 F.3d at 1276 (citing Ivax Corp., 182 F.3d at 802 n. 2). Clearly, the Distribution Agreement and the MTA are integral to the allegations contained in Daewoo America's Amended Complaint. Additionally, no party has contested the contents or authenticity of those documents. It was therefore unnecessary for the district court to convert the defendants' motions to dismiss into motions for summary judgment.


. For claims One through Four, and for Claim Seven, Daewoo America does not identify which state's law applies.


. Cal. Bus. &amp; Prof.Code § 16720 et seq.


.Daewoo America cites Cal. Bus. &amp; Prof. Code § 17200 et seq. as the basis for its unfair competition claim. Unfair competition under this section includes “any unlawful, unfair or fraudulent business act or practice.” Gregory v. Albertson's, Inc., 104 Cal.App.4th 845, 128 Cal.Rptr.2d 389, 392 (2002) (internal quotation marks omitted). A business act is “unlawful” if it is forbidden by law. Walker v. Countrywide Home Loans, Inc., 98 Cal. App.4th 1158, 121 Cal.Rptr.2d 79, 86 (2002). An act is "unfair” if it is "conduct that threatens an incipient violation of an antitrust law, or violates the policy or spirit of one of those laws because its effects are comparable to or the same as a violation of the law, or otherwise significantly threatens or harms competition.” Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal.4th 163, 83 Cal. Rptr.2d 548, 973 P.2d 527, 544 (1999). "In effect, the UCL [California’s Unfair Competition Law] borrows violations of other laws ... and makes those unlawful practices actionable under the UCL.” Lazar v. Hertz Corp., 69 Cal.App.4th 1494, 82 Cal.Rptr.2d 368, 375 (1999).


. While Daewoo America does claim that Daewoo Korea acted fraudulently during the asset sale process, this is basically immaterial to its claim. Daewoo America is not trying to upset the bankruptcy order. Rather, it believes GMDAT has an obligation to Daewoo America that survives bankruptcy and is attempting to enforce it.


. Daewoo America failed to specify the statutory subsection that formed the basis for this claim. It nevertheless appears that Daewoo America based this claim on Fla. Stat. § 320.641(l)(b)(3), which proscribes the "unfair” termination of a franchise agreement. Such termination is unfair if "it is not clearly permitted by the franchise agreement; is not undertaken in good faith; is not undertaken for good cause; or is based on an alleged breach of the franchise agreement which is not in fact a material and substantial breach; or if the grounds [for termination] have not been applied in a uniform and consistent manner by the licensee.”


. Fla. Stat. § 320.64(4) permits the revocation of a motor vehicle dealer's license to operate in the state if that dealer "has indulged in any illegal act relating to his or her business” with such frequency as to establish a pattern of wrongdoing. This subsection also allows any motor vehicle dealer harmed by another's violation of the subsection to seek legal and equitable remedies against the offender. See Fla. Stat. §§ 320.695, 320.697.


. Daewoo America cites Mass. Gen. Laws ch. 93B, § 4(c)(12) as the basis for its Thirteenth Claim. This provision makes it illegal for vehicle manufacturers, distributors and franchisors "to act to accomplish, either directly or indirectly through any parent company, subsidiary, or agent, what would otherwise be prohibited under this chapter on the part of the manufacturer or distributor.”


.Daewoo America cites Mass. Gen. Laws ch. 93B, § 5 as the basis for this claim. It is illegal under this statute for a manufacturer, distributor or franchisor to, among other things, terminate or refuse to renew a motor vehicle dealer franchise agreement "without good cause, in bad faith, or in an arbitrary or unconscionable manner.” Id. § 5(a).


. 11 U.S.C. § 549 states, in relevant part:
(a) Except as provided in subsection (b) or (c) of this section, the trustee may avoid a transfer of property of the estate—
(1) that occurs after the commencement of the case; and
(2)(A) that is authorized only under section 303(f) or 542(c) of this title; or
(B) that is not authorized under this title or by the court.
11 U.S.C. § 549.


. As I indicated in the previous section, Dae-woo America’s Sixth Claim (Unfair Competition), Twelfth Claim (Illegal Conduct Related to Motor Vehicle Business), and Thirteenth Claim (Constructive Termination of the Distribution Agreement) are, for the most part, derivative claims, for which the other illegal conduct alleged in the Amended Complaint will sustain a cause of action. These claims are legally insufficient because Daewoo America’s other claims are legally insufficient.


. I assume that the United States Daewoo distribution market is a valid relevant market for the purpose of sustaining a Cartwright Act claim. See Exxon Corp. v. Superior Court, 51 Cal.App.4th 1672, 60 Cal.Rptr.2d 195, 201 (1997) ("Ordinarily, a plaintiff [attempting to show a significant and unreasonable restraint on trade under the Cartwright Act] must delineate a relevant market and show that the defendant plays enough of a role in that mar*1273ket to impair competition significantly.” (citation omitted) (internal quotation marks omitted)).


. To the extent Daewoo America challenges the purchase of the assets as anticompetitive, this is a claim that should have been raised during the course of the Korean bankruptcy proceeding. I interpret the claim, however, to be a challenge to defendant's refusal to deal with Daewoo America once the assets had been purchased.


. Daewoo America's Cartwright Act claim relies on the presumption that GM (or GMDAT) had a statutory obligation to use Daewoo America as a distribution channel. *1274Anything else would be an unreasonable restraint on trade. I simply disagree.


. The term "Covered products” is one of Daewoo America’s own creation, and is intended to denote any vehicles manufactured in the Daewoo Korea Plants over which Dae-woo America claims distribution rights. The term appears nowhere in the Distribution Agreement.


. Daewoo America's other claimed harms, including its lost opportunity "to cover its positions and/or explored other business" ventures, Am. Compl. ¶ 69, are simply too vague. See Fed.R.Civ.P. 9(b) ("In all aver-ments of fraud or mistake, the circumstances constituting fraud or mistake shall be stated with particularity.”).

